






						NO. 12-09-00002-CV



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


DONALD W. INGLE, JR.,§
		APPEAL FROM THE

APPELLANT


V.


§
		JUSTICE COURT, PRECINCT #2

PROPERTY OFFICER SAMUEL,

WAYNE WHITTEN, J. WISENER

AND V. L. BRISHER,

APPELLEES§
		ANDERSON COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM
	

	Donald W. Ingle, Jr. attempts to appeal a judgment entered against him in the Justice Court,
Precinct #2, Anderson County, Texas.  We dismiss for want of jurisdiction.

	A court of appeals has appellate jurisdiction of all civil cases within its district of which the
district courts or county courts have jurisdiction when the amount in controversy or the judgment
rendered exceeds $100, exclusive of interest and costs.  Tex. Gov't Code Ann. § 22.220(a) (Vernon 
2004).  Consequently, a justice court judgment cannot be appealed directly to the court of appeals. 
See id.; see also Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.001 (Vernon 2008).

	On January 6, 2009, this court notified Ingle that because he attempts to appeal a judgment
of the justice court, this court does not have jurisdiction of the appeal.  Ingle was further informed
that the appeal would be dismissed unless, on or before January 16, 2009, he filed an amended notice
of appeal that showed the jurisdiction of this court.  In response to the January 16, 2009 notice, Ingle
filed "Plaintiff's Amended Notice of Appeal Pursuant to Tex. Rule of Appellate Procedure 38.7,"
stating that he is invoking this court's jurisdiction for a restricted appeal.  He further requested that
this appeal be transferred to the county court if this court does not have jurisdiction of the appeal.

	Even though Ingle seeks to pursue a restricted appeal, we are without jurisdiction because
the appeal is from a justice court judgment.  See Tex. Gov't Code Ann. § 22.220(a).  Moreover,
we have no authority to transfer the appeal to the county court.  Accordingly, the appeal is dismissed
for want of jurisdiction.

Opinion delivered January 21, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


































(PUBLISH)


